                       Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 1 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                      (For Offenses Committed On or After November 1, 1987)
                           v.
                    JASON S. WYMER                                    Case Number: 2:13CR00086-1
                                                                      Defendant's Attorney: Benjamin Galloway, Assistant Federal Defender

THE DEFENDANT:
     pleaded guilty to count(s) Count 1 of the Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                         Date Offense         Count
Title & Section                       Nature Of Offense
                                                                                                         Concluded            Number
18 USC 2251(a)                        Sexual Exploitation of Minors                                      8/13/11              1

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
     Count (s) 2 & 3 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                              Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.
                                                                      7/29/2016
                                                                      Date of Imposition of Judgment




                                                                      Signature of Judicial Officer
                                                                      Garland E. Burrell, Jr., Senior U. S. District Judge
                                                                      Name & Title of Judicial Officer
                                                                      8/15/2016
                                                                      Date
                      Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 2 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:JASON S. WYMER                                                                                                        Page 2 of 6
CASE NUMBER:2:13CR00086-1

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
360 Months concurrent to the sentence being served in California State Case Number 13F07149..

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated in an institution in Tucson, Arizona facility, but only insofar as this
      accords with security classification and space availability. Counseling related to the offense.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
                      Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 3 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:JASON S. WYMER                                                                                                         Page 3 of 6
CASE NUMBER:2:13CR00086-1

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
300 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
                      Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 4 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:JASON S. WYMER                                                                                                         Page 4 of 6
CASE NUMBER:2:13CR00086-1

                                         SPECIAL CONDITIONS OF SUPERVISION
1.       As directed by the probation officer, the defendant shall participate in a program of outpatient mental health treatment.
2.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
3.       The defendant shall submit to the search of his person, property, house, residence, vehicle, papers, computer, other electronic
         communication or data storage devices or media, and effects at any time, with or without a warrant, by any law enforcement
         or probation officer in the lawful discharge of the officer’s supervision functions with reasonable suspicion concerning
         unlawful conduct or a violation of a condition of probation or supervised release. Failure to submit to a search may be
         grounds for revocation. The defendant shall warn any other residents that the premises may be subject to searches pursuant to
         this condition.
4.       The defendant shall not possess or use a computer or any device that has access to any “on-line computer service” unless
         approved by the probation officer. This includes any Internet service provider, bulletin board system, or any other public or
         private computer network.
5.       The defendant shall have no contact with known children under the age of 18, unless approved by the probation officer in
         advance. The defendant is not to loiter within 100 feet of school yards, parks, playgrounds, arcades, or other places primarily
         used by children under the age of 18. This shall include that the defendant is not to engage in any occupation, either paid or
         volunteer, that causes him to regularly contact known persons under the age of 18.
6.       The defendant shall consent to the probation officer and/or probation service representative conducting periodic unannounced
         examinations of (a) any computer, or (b) computer-related device, or (c) equipment that has an internal or external modem
         which is in the possession or control of the defendant. The defendant consents to retrieval and copying of all data from any
         such computer, computer-related device, or equipment as well as any internal or external peripherals to ensure compliance
         with conditions. The defendant consents to removal of such computer, computer-related device, and equipment for purposes
         of conducting a more thorough inspection and analysis.

         The defendant consents to having installed on any computer, computer-related device, and equipment, at the defendant's
         expense, any hardware or software systems to monitor the use of such computer, computer-related device, and equipment at
         the direction of the probation officer, and agrees not to tamper with such hardware or software and not install or use any
         software programs designated to hide, alter, or delete his computer activities. The defendant consents to not installing new
         hardware without the prior approval of the probation officer.
7.       The defendant shall not possess, own, use, view, or read material depicting and/or describing sexually explicit conduct
         involving children, including computer images, pictures, photographs, books, writings, drawings, videos, or video games.
         "Sexually explicit conduct" as defined in 18 U.S.C. § 2256(2) means actual or simulated (a) sexual intercourse, including
         genital-genital, oral-genital, or oral-anal, whether between the same or opposite sex; (b) bestiality; (c) masturbation; (d)
         sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any person.

         In addition, the defendant shall not possess, own, use, view, or read any material depicting and/or describing sexually explicit
         conduct involving adults, defined as sexually stimulating depictions of adult sexual conduct that are deemed inappropriate by
         the defendant's probation officer, including computer images, pictures, photographs, books, writings, drawings, videos, or
         video games depicting such conduct. Furthermore, the defendant shall not frequent any place whose primary purpose is to
         sell, rent, show, display, or give other forms of access to, material depicting and/or describing sexually explicit conduct.
8.       The defendant shall provide all requested business/personal phone records to the probation officer. The defendant shall
         disclose to the probation officer any existing contracts with telephone line/cable service providers. The defendant shall
         provide the probation officer with written authorization to request a record of all outgoing or incoming phone calls from any
         service provider.
9.       The defendant shall consent to third-party disclosure to any employer or potential employer, concerning any computer-related
         restrictions that are imposed upon him. This includes any activities in which you are acting as a technician, advisor, or
         consultant with or without any monetary gain or other compensation.
10.      The defendant shall attend, cooperate with, and actively participate in a sex offender treatment and therapy program [which
         may include, but is not limited to, risk assessment, polygraph examination, and/or Visual Reaction Treatment] as approved
         and directed by the probation officer and as recommended by the assigned treatment provider.
11.      The defendant’s residence shall be pre-approved by the probation officer. The defendant shall not reside in direct view of
         places such as school yards, parks, public swimming pools, or recreational centers, playgrounds, youth centers, video arcade
         facilities, or other places primarily used by children under the age of 18.
                       Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 5 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:JASON S. WYMER                                                                                                          Page 5 of 6
CASE NUMBER:2:13CR00086-1

                                              CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                             Assessment                       Fine                Restitution
         TOTALS                                                 $100
      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
Totals                                                      $____                   $____
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the              fine      restitution

             The interest requirement for the             fine       restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                      Case 2:13-cr-00086-DAD Document 94 Filed 08/15/16 Page 6 of 6
AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:JASON S. WYMER                                                                                                            Page 6 of 6
CASE NUMBER:2:13CR00086-1

                                                     SCHEDULE OF PAYMENTS
        Payment of the total fine and other criminal monetary penalties shall be due as follows:

A.               Lump sum payment of $            due immediately, balance due
                        Not later than      , or
                        in accordance           C,          D,   E,or        F below; or
B.               Payment to begin immediately (may be combined with              C,         D,     or   F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate:

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:
         The preliminary order of forfeiture filed 5/9/16 shall be incorporated into this Judgment

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
